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                                                                                       One Sansome Street
LAW OFFICES OF WHITNEY LEIGH                                                                     351h Floor
                                                                                 San Francisco, CA 94104
                                                                                 Telephone: 415-470-4055
                                                                               Leigh 1sansome@gmail.com




                                          October 6, 2017



    VIA EMAIL AND U.S. MAIL



    Heidi J. Gerwertz, Esq.
    Deputy City Attorney
    City Attorney of San Francisco
    San Francisco City Hall
    1 Dr. Carlton B. Goodlett Place
    San Francisco, California 94102

    Dear City Ms. Gewertz:

    Thank you for your letter dated September 13, 2017, responding to my letter of
    September As we clearly stated in our previous letter dated September 1, 2017. The
    City's response, however, failed to address our concerns regarding ongoing unlawful acts
    concerning the evaluation process for the Fillmore Heritage Center RFP. One of the
    issues raised in my September 1 letter is the submission of late bids, and bids
    significantly changed after the deadline, and the City's acceptance of such bids in
    violation of State and local law.

    To assist the City in recognizing the seriousness of this issue, I will here provide more
    specifics.

    FHC2017 submitted a bid proposal in response to the RFP. That proposal included what
    was titled the "Fillmore Heritage Performance Arts Center" ("FHPAC"), as a central
    demonstration of the community benefit presented by FHC2017's proposal. See attached
    Exhibit 1 (FHC2017 Original Proposed Use and Community Benefit). FHC2017
    represented that the FHPAC, would be the corner stone of the musical and entertainment
    showcase occupying the old Yoshi's Show Room. This entertainment programming,
    booking and management was supposed to be produced and managed by management
    guru Claudia Polley and FillPAC hosting a strong lineup of cross cultural entrainment for
    residents and visitors of San Francisco. A major component of the program has been
    eliminated due to the resignation of Claudia Polley from the FHC2017 partnership team.
    A second example, as part of the community benefit proposal, FHC2017 reached a
    partnership agreement with the San Francisco African American Chamber of Commerce
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(SFAACC) to create an independent self-sustained fac ility for the SFAACC to engage in
national tourism efforts w ith a focus on Black tourism and couvenlion opportunities
utilizing the West Bay Conference Center as a major venue for meelings. We are
informed that this arrangement was canceled due to the fai lure ofFHC2017 to be real
partners with the SFAACC, and the failure to provide ownership opportunities to the
SFAACC that wo uld surv ive after the RFP interview process was completed. The
SF AA CC and its program have disassociated themselves from FHC2017.

FHC20 l 7 have now published a revamped "Prcli minaty Communi ty Benefit'', that
confirms the loss of the above-described community benefit features of the FHC2017
origi na l bid proposal - and reveals new purported replacement featmes that FHC20 17
appears to have been illegally permilted to submit. See Exhibit 2. References to Ms.
Policy and the SFAACC have disappeared from the FHC2017 proposal.

Finally, as a troubling and ethically questionable example of a community benefit
arrangement, 1300 on F illmore and the owner Monetta White have arranged to receive,
as we have previous ly stated, a $300,000.00 to $500,000.00 cash payment and a total
econom ic benefit of approximately $2,300,000.00 mil lion based on an analysis of the
Memorandum of Understanding between FHC20 17 and 1300 on Fillmore/Monetta
White, and the City's current appraisal report of the property.

FHC20 I 7's late bid should be disq ualified. Please respond to this letter by Monday,
October 18, 2017.

                                            Ve1y truly yours

                                            LAW OFFICES WHlTNEY LEIGH




                                             ,/

                                            G. W hilney Leigh

GWL:lr

cc: Naom i Kelly
    Joaquin Torres
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                                         October 6, 2017



    Heidi J. Gerwertz
    Deputy City Attorney
    City Attorney of San Francisco
    San Francisco City Hall
    I Dr. Carlton B. Goodlett Place
    San Francisco, California 94102

    Dear Ms. Gewertz:

    SUBJECT: Fillmore Heritage Center, RFP

    We have received your letter dated, September 13, 2017, indicating that the City's
    evaluation of the Fillmore Heritage Center RFP responses is still in process, and that the
    City will be in contact with all responses once the process is completed. This response,
    unfortunately, does not address serious issues raised in my letter of September 1, 2017
    which identified specific, serious defects existing in the process the City is using to
    conduct the administration of the RFP. These defects are both procedural and
    substantive, and delimit violations of local and state law. Your letter does not
    acknowledge the City's awareness of these violations, or set forth the City's plan to
    correct them. Instead, the City's assertion that its decision on the RFP remains pending
    suggests that the City is disregarding these violations and allowing them to persist.

    This is not a reasonable response. The Fillmore Heritage Center is an important resource
    to the City and the Fillmore neighborhood. Left uncorrected, the defects and law
    violations outlined in my letter will preclude any legal award of the RFP, and will
    unnecessarily delay receipt of the much-need benefit the community will derive from the
    use of this resource.

    Since my letter of September 1, further events raising concern about the RFP process
    have come to our attention. On or about September 8, 2017, a competitive bidder
    FHC2017, made a significant cash contribution to the Chairman of the selection
    committee as a sponsor to an event celebrating the 40th year anniversary of the Chairman
    and his wife as Pastor of Third Baptist Church in San Francisco. Attached hereto is a
    copy of the brochure for that event.
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                                                                      Heidi Gerwertz, Esq.
                                                                          October 6, 201 7
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Acceptance of this contribution violates the Political Reform Act of 1974 (Cal. Gov.
Code§§ 81000 et seq.) (the "Reform Act"), which prohibits public officials from acting
in matters where their private interests might conflict with their public duties. The
purpose of the act is that that public officers be prevented from acting in conflict of
interest situations unless such action is absolutely necessary. Section 81000 of the
Reform Act, provides, in pertinent part:

       No public official at any level of ... local government shall make,
       participate in making or in any way attempt to use his official position to
       influence a governmental decision in which he knows or has reason to
       know he has a
       financial interest.

Section 87103 of the Reform Act provides, in pertinent part, that:

       "[a]n official has a financial interest in a decision within the meaning of
       Section 87100 if it is reasonably foreseeable that the decision will have a
       material financial effect, distinguishable from its effect on the public
       generally, on: "(c) Any source of income ... aggregating two hundred
       fifty dollars ($ 250) or more in value received by ... the public official
       within twelve months prior to the time when the decision is made; ... "

         For the purposes of disqualification under Section 87100 and 87103, "a public
official has an economic interest in any donor of, or any intermediary or agent for a donor
of, a gift or gifts aggregating $ 440 or more in value provided to, received by, or
promised to the public official within 12 months prior to the time when the decision is
made." See also C.C.R. §§ 18703.3, 18703.4. Section 82048 of the Reform Act defines
"public official", which means "every member, officer, employee or consultant of a state
or local agency.

        The bid ofFHC2017, whose principals, submitted the unlawful payment to the
Chairman, must be nullified and rejected as void. By additional letter of today's date, I've
provided further information regarding the invalidity of the FHC2017 bid. Also, the
Chairman of the selection committee has a disqualifying economic interest that precludes
his participation in that committee. This is a matter that must be addressed immediately.
It cannot await the City's evaluation of the responses, as that evaluation is governed by
the committee, which, as presently constituted, cannot render anything other than a void
decision. See Government Code §§ 1092 et seq.
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                                                                 He idi Gerwertz, Esq.
                                                                      October 6, 2017
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We insist that the City take action immediately .

Please respond on or before October 18, 20 17.
                                            Vety truly yours

                                             LAW OFFICES WHITNEY LEIGH




                                             G. W hitney Leigh

GWL: lr

cc: Naomi Kelly
   Joaquin Torres
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                       Celebrating Forty Years of Service to t~e
                       Community, State, Nation and the World
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                                Benefactors
                                  Five Point
                   San Francisco Police Officers Association
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                             Dr. Jonathan Butler
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               Betty Chin                               l     Tim Shelton)
 Community Alliance for Jobs &-Housing              ' Annie Snoddy-Bradford
     Cassie Cook, Dorothy Howell             Tabernacl e Community Development Corp.
              Sheryl Davis                      Dr. & Mrs, Allen Turner, Bobby Sisk
            Ethel D. Ellison                                 MaryTwegbe
          Mark & Joye~ Gray                                  Donald Waits
            Kendra Griffin                                  Lorene Walker
              Traey Griffin                             Hiawatha Was hington
              Artie Guidry                               LaZelle Westbrook
          Dorothy Henderson                  West Bay Local Development Corpdratiolil
         Udo & Sandra Kaiser                     Tommy Winston, Tekeste Habtom
              Diane Kruze




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  Governor Edmund G. Brown, Jr.             U.S. Congresswoman Nancy Pelosi
 The Honorable Willie L. Brown, Jr.                Mayor Edwin M. Lee
   U.S. Senator Dianne Feinstein                    Bernard J. Tyson
Lieutenant Governor Gavin Newsom                    Dr. Cecil Williams
   U.S. Senator Kamala D. Harris                     Dr. Jerry Young
 U.S. Congresswoman Barbara Lee




       Dr. Ernest Bates                           Emely Norris
       Fred Blackwell                       Rev. Michael G. Pappas
          Kofi Bonner                        Bishop Frank Pinkard
    Kimberly K. Brandon                    SF Supervisor Ahsha Safaf
SF Supervisor London Breed                         Rita R. Semel
 SF Supervisor Malia Cohen                    Timothy A. Simon, Esq.
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         Stevon Cook                        Rev. Dr. J. Alfred Smith, Sr.
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  Dr. Kenneth P. Monteiro                         Brenda Wright




     Gordon Greenwood, Esq.                       Dorothy Henderson
          Event Chair                                 Betty Jones
                                                  Kristine Knockum
                                                      Viola Lewis
             Co-Chairs                             Virginia Marshall
        Amelia Ashley Ward                          Emmit Powell
           Cassie Cook                                Karen Roye
                                                   Rev. James Smith
          Laverne Baker                              Shari Taylor
            Alma Bland                          Jeanette Dupas Walker
          Cleo Cummings                            Tommy Winsto n
          Ethel D. Ellison
           Artie Guidry
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                 ~-__._,.,9.9 McAllister Street San Francisco, CA Telephone:
                                        email: dr.brown@thirdbaptistfoundationinc-sf.org




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   3e]>1em13er 8, 2017




   IDear Fri~d.s and Colleagues:

   J:m trh~ spir·i t of service, the 40th Anniversary Committee welcomes you. We have worked. quickly and
   1iiFele's sly to create a program that not only celebrates forty years of pastoral service, but that also highlights
   rllolie tlfan one hundred sixty-five years of ministry provided to the San Francisco commun'ity, the nation,
   am<'.! the world. God has been gracious and merciful to Third Baptist Church; but God has also been relentless,
   e©)llS)Sti~tly urging continued service through the best, worst, and most challenging times . .


   Wmen IDr. Brown and Mrs. Brown arrived in San Francisco in 1976, they brought with them a love for the
    G©mmunify and a dogged determination to ensure that the blessings available to God's children throughout
   ~J:rie r.est of the world were also provided to every person within shouting distance of Third Baptist Church.
    Hi is in this spirit that we welcome you to the pastoral celebration designed to celebrate the people-the
    12e@p>:le t5liat the Browns love, the people the Browns have served, and the people who have art abs0lute right
   ill© fie tree ejlife. There could be no celebration without your presence and participation. We thank you for
    ~©ining us as we highlight forty years of p astoral service.


    We Jilli~ trha'ti <during tlhis service your minds will be stimulated and your souls will be stirred. In the end, v.;e
   lll>llaM tifiau M©l!lr. e-x<perience this evening will bring you closer to God's purpose for your life - tfuat fille w9rds
    ©fiitlffi.e .ffi©ly sc;:riptures will come alive in your life and lead you to serve your community as Rev. Brown and
    M11s. :IBr©wn have served our community. God bless you.




            nliversary ClJlminating Event
